     Case 2:18-cv-00230-MWF-AS Document 29 Filed 04/20/18 Page 1 of 2 Page ID #:139



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 7
 8 Attorneys for Defendants
 9 Dragon Media, Inc.,
   Paul Christoforo, and Jeff Williams
10
                                        UNITED STATES DISTRICT COURT
11                                     CENTRAL DISTRICT OF CALIFORNIA
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13                                                                )   Case No.: 2:18-cv-00230 MWF (ASx)
      NETFLIX STUDIOS, LLC, et al.,                               )
14                                                                )
                                  Plaintiff,
                                                                  )
15                                                                )   DEFENDANT DRAGON MEDIA, INC.’S
                   v.
16
                                                                  )   NOTICE OF INTERESTED PARTIES
                                                                  )
17                                                                )
      DRAGON MEDIA, INC. et al.                                   )
18                                                                )   Judge:    Hon. Michael W. Fitzgerald
                                 Defendants.                      )   Room:     5A
19                                                                )
                                                                  )   Complaint Filed: January 10, 2018
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      Netflix Studios, LLC, et al. v. Dragon Media Inc., et al.                  Notice of Interested Parties
       USDC, Case No. 2:18-cv-00230 MWF (ASx)
     Case 2:18-cv-00230-MWF-AS Document 29 Filed 04/20/18 Page 2 of 2 Page ID #:140



 1             TO THE COURT AND ALL PARTIES AND COUNSEL OF RECORD:
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               Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Rule 7.1, the
 3
 4    undersigned, counsel of record for Dragon Media, Inc., certifies that the following listed
 5    party may have a pecuniary interest in the outcome of this case. These representations are
 6
      made to enable the Court to evaluate possible disqualification or recusal.
 7
 8             1. Paul Christoforo, the owner and president of Dragon Media, Inc.
 9
10
11                                                                    SHARIF | FAUST LAWYERS, LTD
12
13    Dated: April 20, 2018                                 BY:            /s/ Matthew J. Faust
14                                                                            Matthew J. Faust
                                                                            Khodadad D. Sharif
15                                                                        Attorneys for Defendants
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